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                                 December 5, 2018


VIA ECF

Chief Judge Christopher C. Conner
U.S. District Court
Middle District of Pennsylvania
228 Walnut Street
PO Box 983
Harrisburg, PA 17101

      Re:    Dobson v. The Milton Hershey School, et al.
             Civil Action No. 1:16-cv-01958-CCC (M.D. Pa.)

Dear Chief Judge Conner:

      We represent Defendants in the above-referenced action, and this
correspondence respectfully requests the Court’s assistance in compelling Protect
the Hersheys’ Children, Inc. (“PHC”) to comply with a duly served December 13,
2017, subpoena, with a deposition date of January 5, 2018. (Ex. “1”.)

       PHC’s President, F. Frederic Fouad (“Fouad”), has used PHC to extensively
publish communications about the alleged facts and legal theories of this case, and
Plaintiff Adam Dobson (“Plaintiff”), including publications dated approximately
two       years    before     Plaintiff    filed    a     Complaint.             See
http://www.protecthersheychildren.org/docs/AG_USA_Hershey_White_Paper_11
_11_14.pdf, PHC’s Nov. 11, 2014, White Paper to Att’y Gen. Holder at 3-4
(Plaintiff “Adam Dobson’s story paralleled [AB’s]. . . . when [Plaintiff’s]
depression led to a second short-term stay at a local mental health facility in the
last month of his junior year, Hershey administrators callously and abruptly
expelled him.”) (last accessed Dec. 5, 2018.) Indeed, Plaintiff is the “poster child”
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of PHC self-serving and misleading postings and social media communications.
His photograph appears prominently on PHC published writings, along with PHC’s
meritless allegations attacking MHS, and its administrators.

        Indeed, many, if not all, of the allegations of Plaintiff’s Amended
Complaint, and, as this Court has already determined, undeniably the theory of
liability that is the foundation of Plaintiff’s claims, are directly traceable to
writings authored and published by PHC and its members, including principally by
Fouad. In Wartluft v. Milton Hershey School, Civ. No. 1:16-cv-2145-CCC (M.D.
Pa.), a case simultaneously filed against Defendants involving a minor, AB, Judge
Carlson found that “we have little difficulty in finding at the outset that Milton
Hershey’s inquiries into the factual basis of PHC’s allegations which form part of
the foundation for this lawsuit was a relevant, proper line of inquiry.” Wartluft
(Doc. 95, Oct. 19, 2016, Memo. Op. at 15.)

       The same is true here. Significantly, PHC and its members, including
Fouad, have admittedly given money to Plaintiff. PHC documents produced in
Wartluft confirm that PHC Board members discussed these financial payments and
assistance to Plaintiff. This clearly implicates the credibility and motivation for
Plaintiff’s claims against Defendants. (Ex. “2”, PHC-00617-33.)

       Following service of the subject subpoena, counsel for PHC, Jeffrey
Schreiber, Esquire (“Attorney Schreiber”),1 contacted Defendants’ counsel on
December 22, 2017. (Ex. “3”.) As he did with a previously served PHC corporate
deposition subpoena in Wartluft, Attorney Schreiber’s correspondence contained a
litany of demands improperly attempting to limit the scope of PHC’s deposition in
violation of the Federal Rules of Civil Procedure. Attorney Schreiber, however,
stated that he “will comply with [PHC’s] obligation under the [s]ubpoena,” but the
January 5, 2018, deposition date was purportedly inconvenient for PHC’s Rule
30(b)(6) representative, Fouad, because he would be in Toyko, Japan.

      As an alternative to the date, time and location noticed by the subpoena,
Attorney Schreiber proposed to convene the deposition on December 28, 2017, but
only in New York, the same tactic he had unsuccessfully employed in the Wartluft

      1
         Attorney Schreiber is not admitted to practice before this Court, and has
failed to seek pro hac vice admission in either Wartluft or Dobson. Attorney
Schreiber’s refusal to gain proper admission and permission to practice before this
Court renders his unilateral attempts to dictate the time, duration, and terms of
depositions conducted pursuant to subpoenas issuing from this Court egregiously
improper.
                                        2
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PHC deposition matter. On December 27, 2017, I advised Attorney Schreiber that
I had just returned to the office from the Christmas holiday and that the proposed
date of December 28 was unacceptable. (Ex. “4”.) I also rejected his improper
attempt to limit the topics to be examined, and confirmed that the deposition would
be subject to the applicable rules of discovery and Judge Carlson’s prior ruling in
Wartluft concerning relevant PHC issues. I specifically requested that Attorney
Schreiber advise of Fouad’s alleged travel plans to Tokyo, Japan, and that he
provide alternative dates when PHC’s corporate representative would be available
for deposition after January 5. However, he failed to do so.

       After receiving no response from Attorney Schreiber, on November 16,
2018, I wrote to him again, requesting to schedule PHC’s deposition pursuant to
the outstanding and duly served subpoena. (Ex. “5”.) On November 21, 2018,
Attorney Schreiber responded, resorting to the same disingenuous discovery
obstruction tactics that this Court has already rejected in the Wartluft matter,
demanding, inter alia, that the deposition be limited to two hours, and conducted
only in his Manhattan, New York, office. (Ex. “6”.)2

       Attorney Schreiber’s attempts to obstruct discovery and unilaterally impose
arbitrary conditions upon the duration, substance, and location of PHC’s deposition

      2
         In Wartluft, after PHC sent a woefully deficient Rule 30(b)(6) witness,
Michael Kronenberg, to be deposed at the Blue Bell, Pennsylvania offices of
Defendants’ counsel, Defendants filed a Motion to Compel a proper corporate
representative. Wartluft (Doc. 60.) Judge Carlson granted Defendants’ Motion in
a Memorandum Opinion and Order dated October 19, 2017. Wartluft (Doc. 95).
In its Memorandum Opinion and Order, the Court held that, contrary to PHC’s
baseless contentions, the Notice of Deposition topics were properly noticed, and
that it had “little difficulty in finding” that an examination of PHC is a “relevant,
proper line of inquiry.” (Id. at 15-16.)

      Following the Court’s Memorandum Opinion and Order, PHC then again
attempted to obfuscate and frustrate the PHC deposition by demanding that the
deposition take place in New York, just as Attorney Schreiber again improperly
demands here. His improper and baseless demands required Judge Carlson to
conduct a telephone conference, after which he entered another Order directing
PHC to appear at its registered address for the deposition at Dilworth Paxson, LLP,
1500 Market Street, Philadelphia, PA 19102. Wartluft (Doc. 101.) Fouad and
Attorney Schreiber both subsequently appeared in Philadelphia at PHC’s registered
corporate address and submitted to examination by Defendants’ counsel on
November 27, 2017.
                                         3
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is highly improper, and must be rejected by this Court. This case is an
independently filed action involving a different party, Plaintiff, with whom PHC
has had involvement independent of the Wartluft litigants. Defendants are entitled
to examine the nature of these dealings, and to conduct discovery into relevant
matters as to PHC. See Fed. R. Civ. P. 26(b)(1). Like the claims brought on behalf
of the minor plaintiff (AB) in Wartluft, PHC has an established connection to the
Plaintiff in this case, and Defendants are entitled to specifically examine the nature
of PHC’s involvement with this litigant, and with the allegations of this Amended
Complaint.

     Attorney Schreiber has never filed a Motion seeking to quash the subject
subpoena, nor has he sought a protective order concerning any potential topics to
be explored during the subpoena. Any such objections have now been long
waived.

       Accordingly, PHC should be directed to appear for its deposition at its
registered address in Philadelphia, PA, within fourteen days.3 See Fed. R. Civ. P.
45(c). Defendants are available and prepared to engage in any conference or
proceedings this Court deems appropriate to resolve this matter.

      Thank you for your kind attention and assistance.

                                                    Respectfully submitted,

                                                    /s/ Jarad W. Handelman

                                                    Jarad W. Handelman, Esq.
                                                    (PA 82629)

Enclosures

cc:   Kyle M. Elliott, Esquire (via ECF)
      Matthew B. Weisberg, Esquire (via ECF)
      Jeffrey Schreiber, Esquire (via Email and First Class U.S. Mail)



      3
        The Dilworth firm has withdrawn its representation of Plaintiff. Should the
Dilworth firm be unwilling to allow Defendants to depose PHC at its registered
address, the same address where it was deposed in the Wartluft action, Defendants
will make other arrangements to conduct the deposition in Philadelphia, PA.
                                          4
